936 F.2d 568Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Duke WOODLEY, Petitioner-Appellant,v.DIRECTOR OF the DEPARTMENT OF VIRGINIA, Mary Sue Terry,Respondents-Appellees.
    No. 90-6922.
    United States Court of Appeals, Fourth Circuit.
    Submitted Feb. 8, 1991.Decided July 2, 1991.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Richmond.  David G. Lowe, Magistrate Judge.  (CA-90-434-3)
      Duke Woodley, appellant pro se.
      Eugene Paul Murphy, Office of the Attorney General of Virginia, Richmond, Va., for appellees.
      E.D.Va.
      DISMISSED.
      Before K.K. HALL, MURNAGHAN and WILKINSON, Circuit Judges.
      OPINION
      PER CURIAM:
    
    
      1
      Duke Woodley seeks to appeal the magistrate judge's order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254.*   Our review of the record and the magistrate judge's opinion discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the magistrate judge.  Woodley v. Director, Dep't of Virginia, CA-90-434-3 (E.D.Va. Sept. 25, 1990).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    
      
        *
         The case was tried before a magistrate judge with the consent of the parties.  28 U.S.C. Sec. 636(c)(1)
      
    
    